Case 9:23-cr-80034-KAM Document 41 Entered on FLSD Docket 03/22/2024 Page 1 of 13




                            U N ITED STA TES DISTR IC T C O UR T
                            SO U TH ERN D ISTW C T O F FLO R ID A
                                   CA SE N O .23-C R -80034

  UN ITED STA TES O F A M ER ICA

  V.

  AR ISTID E M EZZO IU SO ,

                 D efendant.                                   .

       .                           /

                                       PLEA A G R EE M E N T

           TheUrlitedStatesAttorney'sOfficefortheSouthernDistrictofFlorida(çGthisOffice''land
  Aristide M ezzoiuso (hereinafter referred to as the lr efendanf') enter into the following
  agreem ent:

           1.    The Defendant'agrees to plead guilty to the Indictm ent, which charges the

  Defendantwith Atlempted Coercion and EnticementofaM inorto Engage in SexualActivity,in

  violation of18 U.S.C.j242241$ (Count1)and Atlempted Transportation ofaM inorwith the
  IntentofEngaginginSexualActivity,inviolationof18U.S.C.j2423(a)tcount2).
           2.    The Defendant is aware that the sentence will be imposed by the Court after

  considering the advisory Federal Sentencing Guidelines and Policy Statements (hereinafter
  Glsentencing Guidelines').The Defendant acknowledges atld lmderstands thatthe Courtwill
  computean advisoty sentenceunderthe Sentencing Guidelinesandthattheapplicableguidelines

  willbedeterminedby theCourtrelyinginpartontheresultsofapre-sentenceinvestigation by the

  Court'sprobation office,which investigation w illcom m enceafterthe guilty plea hasbeen entered.

  The D efendant is also aw are that,under certain circtlm stances,the Cotu'tm ay departfrom the     :


  advisory sentencing guideline range that it has com puted and m ay raise or low er that advisory

  sentence underthe Sentencing Guidelines. The D efendantisfurther aw are and understandsthat
                                                 1
Case 9:23-cr-80034-KAM Document 41 Entered on FLSD Docket 03/22/2024 Page 2 of 13



  the Cout'tisrequired to considerthe advisory guideline range detennined underthe Sentencing

  Guidelines,butisnotbotmdtoimposeasentencewithin thatadvisory range;theCourtispermitted

  totailortheultim ate sentencein lightofotherstatutory concerns,and such sentencem ay beeither

  m ore severeorlessseverethan the Sentencing Guidelines'advisory range.Knowing these facts,

  the D efendant understands and acknow ledges that the Court has the authority to im pose any

  sentencewithin and up to the stattztory m aximum authorized by law fortheoffensesidentified in

  paragraph 1and thatthe Defendantm ay notwithdraw theplea solely asa resultofthe sentence

  im posed.

                TheDefendantalsounderstandsand acknowledgesthat,astoCotmt1(Attempted
  Coercion and Enticementofa Minorto Engage in SexualActivity),theCourtmustimpose a
  mirlimum term ofimprisonmentoften (10)yearsandmay imposeastatutorymaximum term of
  imprisonm erit of life.The Defendantalso tmderstands and acknowledges that,as to Colmt 2

  (Attempted Transportation ofaM inorwiththeIntentofEngagingin SexualActivity),theCourt
  mustimpose a minimum term ofimprisonmentoften (10)years and may impose a statutoly
  m axim llm term of im prisonm entoflife.The Courtm ustalso im pose a tenn of supervised release

  between fiveyearsand life asto each cotm t.ln addition to a term ofim prisonm entand supervised

  release,the Courtm ay im pose a fine ofup to $250,000,m ay orderforfeiture,and mustorder
  restitution.The Defendantfurtherunderstands and acknowledges a specialassessmentof $100

  willbeimposedontheDefendantastoeachcotmt.See18U.S.C.j3013.TheDefendantagrees
  that any special assessm ent im posed shall be paid at the tim e of sentencing.In addition to the

  specialassessmentthatwillbeimposed tmder18 U.S.C.j3013,the Cotu'
                                                                 twillalso impose an
  additionalspecialassessm entof$5,000plzrsuantto the Justice forVictim sofTrafficldng Actof

  2015,tmlessthecourtfindsthatthedefendantisindigent.See 18 U.S.C.j3014.M oreover,the
Case 9:23-cr-80034-KAM Document 41 Entered on FLSD Docket 03/22/2024 Page 3 of 13




  Courtwillimposean assessmentofnotmorethan $35,000 under18U.S.C.j2259A(a)(2).The
  Defendantfurtherlmderstands,acknowledges,and agreesthatrestitution willbe ordered in this

  case for a11 cotmts of the Indictm ent.U nder Title 18,U nited States Code, Section 2259, the

  Defepdantm ustpay restitm ion thatisnotlessthan $3,000pervictim .
                TheD efendantagreesthatthe victim in thiscase hasthelegalrightto bereasonably

  heard atany publicproceeding and agreesnotto objectto thevictim 'soralorwritten impact
  statem ents atthese proceedings.

                This Office reserves the right to inform the Courtand the probation office of al1

  factspertinentto the sentencing process,including a1lrelevantinform ation concerning the offenses

  com m itted,whether charged or not,as w ell as conceraing the D efendant and the D efendant's

  background.Subjectonlytotheexpresstermsofany agreed-upon sentencingrecommendations
  containedinthisagreem ent,tllisOfficefut'therreservestherighttom akeany recom m endation as

  to the quality and quantity ofpunishm ent.

         6.     This O ffice agrees that itw illrecom m end at sentencing thatthe Courtreduce by

  twolevelsthesentencingguidelinelevelapplicabletotheDefendant'soffense,pursuantto Section

  3E1.1(a)ofthe Sentencing Guidelines,basedupon theDefendant'srecognition andaffirmative
  and tim ely acceptance of personalresponsibility. If at the tim e of sentencing the D efendant's

  offense level is determ ined to be 16 or greater,this Office w ill file a m otion requesting an

  additionaloneleveldecreasepursuantto Section 3E1.1(b)oftheSentencing Guidelines,stating
  thatthe D efendanthas assisted authorities in the investigation orprosecution ofthe D efendant's

  own ntisconductby tim ely notifying authorities of the D efendant's intention to enter a plea of

  guilty, thereby perm itting the governm ent to avoid preparing for trial and perm itting the

  governm entalld the Courtto allocate their resources efficiently.This Office and the Defendant
Case 9:23-cr-80034-KAM Document 41 Entered on FLSD Docket 03/22/2024 Page 4 of 13




  furtheragreeto recomm endthattheDefendantbe sentencedtoten years'imprisonm ent,followed

  by alifetim eofsupervisedrelease.ThisOffice,however,willnotberequiredtom akethismotion

  andrecommendation iftheDefendant:(1)failsorrefusestomakea111,accurateand complete
  disclosuretotheprobation officeoftiecircumstancessurrounding therelevantoffenseconduct;
                                                                               .




  (2) is fotmd to have misrepresented facts to the governnnentpriorto entering into thisplea
  agreement;or(3)commitsany misconductafterentering intothispleaagreement,includingbut
  notlimitedtocommittingastateorikderaloffense,violatinganyterm ofrelease,ormakingfalse
  statem entsorm isrepresentationsto any governm entalentity or official.

                TheD efendantisaw arethatthe sentencehasnotyetbeen determ ined by the Court.

  The Defendantalso isaware thatany estim ate ofthe probable sentencing range orsentence that

  the Defendant m ay receive,whether that estim ate com es from the Defendant's attorney,this

  Office,orthe probation office,is aprediction,nota prom ise,and isnotbinding on this O ffice,the
  probation office orthe Court. Th     A
                                  e D efendanttm derstandsfurtherthatany recom m endation that

  thisOftk em akesto the Courtasto sentencing,whetherpursuantto thisagreementorotherwise,

  isnotbindingon theCotu'tandthe Courtmay disregard therecomm endation in itsentirety. The

  D efendanttm derstandsand acknow ledges,aspreviously acknow ledged in paragraph 3 above,that

  the D efendant m ay not w ithdraw his plea based upon the Court's decision not to accept a

  sentencing recom m endation m ade by the D efendant, this O ffice, or a recom m endation m ade

  jointly bytheDefendantatldthisOffice.
         8.       The D efendant agrees,in an individual and any other c>pacity,to forfeit to the

  U nited States,vollmtarily and im m ediately,any right,title,and interestto any visualdepiction of

  a m inorengaged in sexually explicitconduct,or any book,m agazine,periodical,film ,videotape,

  orotherm atterwllich contains any such visualdepiction,w hich w asproduced,transported,m ailed,

                                                 4
Case 9:23-cr-80034-KAM Document 41 Entered on FLSD Docket 03/22/2024 Page 5 of 13



  shipped orreceived in the comm ission oforin relation to the offenses,in violation of18 U.S.C.

  jj2251and2252,
               .anyproperty,realorpersonal,constitutingortraceabletog'
                                                                     rossprofitsorother
  proceedsobtained from such offenses;and any propeo ,realorpersonal,used orintended to be
  used to com m it or prom ote the com m ission of such offenses,or any property traceable to such

  property,pursuantto18U.S.C.j2253($(2)andtheprovisionsof21U.S.C.j853.TheDefendant
                                                              .   '



  agrees thatthis propel'ty includes,butis notlim ited to:one iphone 12 M odel#N GFA3L,one

  iphone in black case,one blue170-478 M droid phone,one CM J2331QVR SilverHP laptop,
  SN#CNU2331QVR, one blue USB drive, one 5C6214                       POD HP laptop (silver),
  SN#5CG2141POD,one 500 GB HDD (outside case dismantled),one W hite W D Mycloud
  externalhard drive,and one black U SB drive.In addition,the Defendantagreesto forfeiture of

  substitutepropertyptlrsuantto21U.S.C.j853(19.
                The D efendantfurtheragreesthatforfeiture isindependentofany assessm ent,fine,

  cost,restitution,orpenalty thatm ay be im posed by the Court.The Defendantknowingly and

  voluntarily agrees to waive a11 constitutional,legal,and equitable defenses to the forfeiture,

  including excessive fines under the Eighth Am endm entto the Uzlited States Constitution.ln

  addition,the defendantagreesto waive:alzy applicabletimelimitsforalministrative orjudicial
  forfeitureproceedings,therequirementsofFed.R.Crim.P.32.2and43(a),andanyappealofthe
  forfeiture.

                TheDefendantalso agrees.to fully arldtruthfully disclosetheexistence,natureand

  location ofal1assetsin which the Defendatlthasorhad any directorindirectfinancialinterestor

  control,and any assets involved in the offenses of conviction.The D efendarlt agrees to take a11

  stepsrequested by the United Statesfortherecovery and forfeiture ofa1lassetsidentified by the

  UrlitedStatesassubjecttoforfeiture. Thisincludes,butisnotlimitedto,thetimelydelively upon
Case 9:23-cr-80034-KAM Document 41 Entered on FLSD Docket 03/22/2024 Page 6 of 13



  request of a1lnecessary and appropriate docum entation to deliver good and marketable title,

  consentingtoallordersofforfeiture,andnotcontestingorimpeding in any way with any crim inal,

  civiloradm inistrativeforfeitureproceeding concerning theforfeim re.

                The D efendanttm derstandsthatby pleading guil'
                                                              ty,he w illbe required to register

  asasex offenderupon his/herreleasefrom prison asacondition ofsupervisedreleasepursuantto

  18U.S.C.j3583(d).TheDefendantalsolmderstandsthatindependentofsupervisedrelease,he
  will be subject to federal and state sex offender registration requirements,and that those
  requirem entsm ay apply throughouttheD efendant'qlife. TheD efendantunderstandsthathe shall

  keep hisregistration current,shallnotify the statesex offenderregistration agency oragenciesof

  any changesto theDefendant'snnm e,place ofresidence,employm ènt,orstudentstatyls,orother

  relevantinform ation. The Defendant shallcomply with requirements to periodically verify in

  person the D efendant's sex offenderregistration inform ation. The D efendanttm derstandsthathe

  willbe subjecttopossible federaland state penaltiesforfailure to comply with any such sex
  offenderregistration requirements. lfthe Defendantresides in Florida,following release from

  prison,theDefendantwillbesubjecttotheregistrationrequirementsofSection 943.0435,Florida
  Statutes. The Defendantfut'thertmderstandsthat,tmder 18 U.S.C.j 4042(c),notice willbe
  provided to certain 1aw enforcem ent agencies upon the D efendant's release f'
                                                                               rom confinem ent

  follow ing conviction.

                Asacondition ofsupervisedrelease,theDefendantshallinitially registerwith the

  state sex offender registration in Florida, and shall also register w ith the state sex offender

  registration agency in any state w here the Defendantresides,is em ployed,w orks,or is a s'
                                                                                            tudent,

  asdirected by the Probation O fficer. TheD efendantshallcom ply w ith allrequirem entsoffederal

  and state sex offender registration law s, including the requirem ent to update the D efendant's
Case 9:23-cr-80034-KAM Document 41 Entered on FLSD Docket 03/22/2024 Page 7 of 13



  registration information. The Defendant shallprovide proof of registration to the Probation

  O fficerw ithin 72 hoursofrelease from im prisonm ent.

         13.     TheDefendantisawarethatTitle28,United States Code,Section 1291 and Title

  18,U nited States Code,Section 3742 afford theD efendantthe rightto appealthe sentenceim posed

  in this case.A cknow ledging this,in exchange for the undertakingsm ade by the U nited States in

  thisplea agreem ent,theDefendanthereby waivesa11rightsconfen'edby Sections1291 and 3742

  to appealany sentence im posed,including any restitution order,orto appealthe m arm erin w hich

  the sentence w asim posed,tmlessthe sentence exceedsthe m axim um pennitled by statute or isthe

  resultof an upward departure and/or an upw ard variance from the advisory guideline range that

  the Court establishes at sentencing.The Defendant f'urther tmderstands that nothing in this

  agreem entshallaffectthegovernment'srightand/orduty to appealassetforth in Title 18,United

  StatesCode,Section 3742(17)and Title28,United StatesCode,Section 1291. However,ifthe
  Ulzited States appeals the Defendant's sentence plzrsuantto Sections 374241$ and 1291,the
  Defendantshallbe released from the abovew aiver ofhisrightto appealhissentence.

         TheDefendantfurtherhereby waivesa11rightscorlferred by Title28,United States Code,

  Section 1291toassel'tany claim that(1)thestatutets)towhich theDefendantispleading guilty
  is/are unconstitmional;and/or (2)the admitted conductdoes notfallwithin the scope ofthe
  stattztets)ofconviction.
         By signing this agreem ent,the D efendant acknow ledgesthatthe D efendanthas discussed

  the appeal w aiver set forth in this agreem ent with the D efendant's atlorney. The D efendant

  further agrees,togetherw ith this Office,to requestthatthe Coul'tenter a specific finding thatthe

  Defendant'sw aiverofhisrightto appealthe sentence im posed in this case and llisrightto appeal

  llisconviction in the m arm er described above w as know ing and voltm tary.
Case 9:23-cr-80034-KAM Document 41 Entered on FLSD Docket 03/22/2024 Page 8 of 13



                This is the entire agreement and tmderstanding between this Office and the

  D efendant.There are no otheragreem ents,prom ises,representations,orunderstandings.


                                            M AR KEN ZY LA POINTE
                                            U N ITED STA TES ATTORN EY

         //'
  o ate: -.
           Q Q/ma                    By:
                                            ELENA SO       ER
                                            A SSISTAN T U N ITED       TES A TTO RN EY


  Date: 3tzo/Vzq                     B y:                                        '
                                            M AA SEITLES
                                            ATTO          O R DEFE


  Date: .
        --!, '
             C uj                    By:
                                            J   N
                                            ATTORNEY FOR DEFENDAN T

  Date: p(,z/zy                     By:
                                            AR ISTID E M EZZO IU O
                                            DEFEN D AN T
Case 9:23-cr-80034-KAM Document 41 Entered on FLSD Docket 03/22/2024 Page 9 of 13




                            U N ITED STA TE S D ISTR ICT C O U RT
                            SO UT H ERN D ISTR ICT O F FLO R IDA

                                 CA SE N O .23-cr-80034-K AM

   UN ITED STA TES O F A M ERIC A ,

   VS.

   AR ISTID E M EZZO IU SO ,

                        Defendant.
                                         /

                                     FA CTU AL PR O FFER

         TheUnited StatesofAmericaandAristideM ezzoiuso(EtM ezzoiuso''orGitheDefendanf')
  agree thathad this case gone to trial,the United Stateswould have proven the following facts,

  nmong others,beyond areasonable doubt:

                On October 19,2020,the M inorVictim ,who was 17 yearsold atthe tim e,was

  encotmtered by 1aw enforcement.TheM inorVictim advised1aw enforcem entthatshehad nrrived

  from the Baham as on October 16,2020.The M inorV ictim further advised thatshe previously

  visited the U nited States         July 2020. Law enforcement obtained United States

  Custom s and BorderProtection records confirm ing that the M inor V ictim arrived in the U nited

  States âom the Baham ason July 2,2020.The M inor V ictim returned to the B aham as on A ugust

  28,2020.TheM inorVictim then rettmled totheUnited Stateson October16,2020.

         2.     TheM inorVictim 'scellphonewasforensically analyzed. A review oftheM inor

  V ictim 's cell phone revealed Facebook chat m essages betw een the M inor Victim and the

  Defendantbegizming in or arotmd September 2020.On October 1,2020,M ezzoiuso asked the

  MinorVictim ifshewantedtocomeback(totheUnitedStatesfrom theBahnmas)andifshecould
Case 9:23-cr-80034-KAM Document 41 Entered on FLSD Docket 03/22/2024 Page 10 of 13



  '

      Staywithhim.WhentheMinorVictim asted,t6Tolive?''Mezzoiusorèspondedbystating,Rlfyou
                                                         .          .                       .




      wantyes.''Th:M inorVictim statedthatshedidnotwanttotandcouldnot)livewithM ezzoiuso;
      When M ezzoiuso ask'
                         ed herwhy,tàeM inorVictim stated thatshe wasnotready.M ezzoiuso
      yesponded by stating,&iIdon'tcareaboutage.''TheM inorVictim was 17yearsold atthetim eand
                      .                                      '. .         -                  .



      residing in theBahnm as;M ezzoiuso was62 and residing in the Southem DistrictofFlorida.'

             3.       A review ofthe M inor Victim 's cellphone.mvealed W hatsApp chat m essages

      between the M inorvictim and A ezzpiuso athisphone n'Imberwhile the M inorvictim was
                                                 ,                                  (   -
  '   residing in the Balmm as.On October 1,2020,M ez'zoiuso asked the M inorVictim ifshewanted

      him tobuyarpundtriporoùe-wayticket(from theBahnmastotheUnitedSjates).W hentheM inor
      Victip responded thatshe would need aroundtrip.flight,M ezzoiuso asked how long shewould

      stay.The M inor Victim told M ezzoiuso thatjhe could notgive him herpassportinform ation.

      Mezzoiusoresponded,GûIcan'tpayforyourflightthen.W emetonceandthenyounextrsiclstayed
      in touch.Itriedmany timestoreachyouremember?''(çmph.aàisaddid).Law enforcementalso
              .   '               ,
                                                     '                              .




      locatedthefollowingW hatsAppchatmessagesbetweenMezw iuso andtheM inorVictim onhir
      (+11phone:

         a. On October4,2020,the DefendanttellstheM inorVictim thathewantsto tiy two things.
            ifsheisopen m inded,stating,E:I'11take care ofyou .
                                      .
                                                              ofcolzrse.''H etellsherhe willtake
             careofheronmuitipleoccasiönstlzroujhouithechat.TheDefendantoffersto tlytothe
             Bahnm'asto meettheM inorVictim N dtçllsV rto ççfinda 16yo girltojoin us ...And
             sepratelyfmdamanclosetomy agetojoinus.''TheDefendanttellstheM inorVictim he
            wantsto seeagirlpleased andaskedifshe'sG&dowm ''TheDefendanttellstheM inorV ictim
            thatheread thatthe Gt egalageforsex ij 16 in theBaham as.''W hen discussing another
             personjoiningthem,theDefendantstâtes,çûBecauselwould wantto seehim fuckyom I
             w ould fuck you too.That'sthe fLm I'm talking aboutk''

         b. On October5,2020,theDefendaqtmessajestheM inofVictim stating,IfBabethe1stday,
            l,m thereitwillbejustmeandyou.Iwanttohavesexalonewithyou.pjsewekywjtea16
             yo.And then a guy.Idefinitely wantto see you getfucked.Do you wantto com e back
             w ith metpM iapiafterwards?''tG
                  .                        lfyes,fou can withmeforaslongasyou want.1'11buy
             yàu theretum ticketto Nassau wheneveryou Fantto go back home.''The Defendanttells
                                                         2
Case 9:23-cr-80034-KAM Document 41 Entered on FLSD Docket 03/22/2024 Page 11 of 13




         theM inorVictim thathe isgoing togettested and asksifsheisgoingto gettested.W hen
         theM inorVictim asksifhewantsherto,theDefendantstatesthathedoesnotwanttowear
         a condom .

         A t one point in the conversation, the M inor Victim contil'm s that she is not 18. The
         Defendantsendsheracolor-coded m ap ofthe United States,showing whereitislegalto
         have sex w ith som eone under 18.

      d. On October8,2020,the DefendanttellstheM inorVictim ,Itlwantto spend tim efucldng
         youeverydaywe'retogetherandmaybehaveotherjoinusonenight.''HetellstheM inor
         Victim thathe w illfly to A tlanta and tly her there to m eet llim .The D efendant tells the
         M inorV ictim ,tçBy the w ay ifyou neverdone a 3 som e w ith 2 guysyou w illlove it.Trust
         me.''TheDefendantthen sendsthefollow ing seriesofmessages:

         M EZZO IU SO :The legalage for sex in Atlanta is 16 so w e can fuck no problem
         M EZZOIUSO:M d 1511treatyou nicely and look afteryou.1can teach you thingsbabe.
         Y ou're in good hands with m e.
         M EZZOIU SO:1'11protectyou aswell
         M EZZOIU SO:Send you al1yourinform ation so1can book yourtrip.W hen you want
         fly?Anytim estarting Saturday.Pick the date.1think you suggestedFriday the 16th but
         you can com e sooner
         M EZZOIUSO:Rem ember1'm gettingtestedforSTDSand HlV tomorrow .1'11sendyou
         the results.1do this
         afew timesayearjusttobesafe.Alsobecause1don'tlikeusingacondom.lsthatOk?
         M EZZOIUSO:Iwantyouto feelme insideyou withoutthecondom intheway.
         M EZZOIU SO:Ifyou liketo spendtim ewith m ewecan discussyou m oving in withm e
         w hen the tim e isright.

      e. W hiletheDefendantinitially seem sintenton having sex with the M inorVictim in astate
         where itislegal,he ultim ately discusseshaving sex with the M inorVictim athishom e,
         located in the Southem DistrictofFlodda.Atone pointin the conversation,the M inor
         Victim explainsthatsheiscom ing totheUnited Stateswith herbrotherand M sgirlfdend.
         TheDefendantsuggeststhatthey stay withhim .TheDefendanttellsherthattheroomsare
         far apart.He states,<&So we would not hear them and they would not here us.''The
         Defendantthen askstheM inorVictim,Gilyotzrbrother)wouldnotmindushaving sextr'
         TheM inorVictim tellstheDefendantthattheycanjusthavesex atnight.TheDefendant
         respondsstating,lEExceptcnnnotinviteanotherguy.''TheDefendantthen proceedstohave
         aconversation with theM inorVictim abouthaving athreesomeandtellstheM inorVictim
         that having a threesom e is for her and about pleasing her.The D efendant also suggests
         taldng thèM inorVicti'm to ahotel.

         On October9,2020,theDefendantasked theM inorVictim whatshelikesto do forfun so '
         hecanplan whatto do.He suggeststaking hertoXtremeAction Sports,Gulfstream Park,
         and Hard Rock Casino Gtifthey allow yourage.''He then states,ç&W e'11have to waittill
Case 9:23-cr-80034-KAM Document 41 Entered on FLSD Docket 03/22/2024 Page 12 of 13




          yotzrbrotherand hisgirlfallasleep to havesex 101,5'referring again to them having sex in
          hishom e located in the Southez'n D istrictofFlorida.

          On October 12,2020,the M inorVictim askstheDefendantifAtlanta iswhere itislegal
          to havesex at16.Intheconversation thatfollowsthatquestion,theDefendantasks,tt'      Y'ou
          don'tw antm eto fuck you w hen you stay atm y house w ith yourbrotherand hisgirlfriend?
             Ithoughtyou did.''

      h. During theconversation,theDefendantaskstheM inorVictim ifsheisgoingto seehim in
         Florida.Heoffersto picktheM inorVictim up and spend timetogetherbutnotsleep over.
         W hen the M inorV ictim agrees,the D efendantstates:

          M EZZO IU SO :Coolw e'llgo to Extrem e A ction Sports
          M EZZOIU SO:Butwe're defnitely fucking when you anivebabe.1wantyou to getused
          to m y cock ok?
          MEZZORJSO: 1511manyyoueventuallyifyouwantQo
          M EZZOIUSO:Pleasedon'tthinkthatjustbecauseItestsexualthingsI'm being
          disrespectful.1'm notrestassured
          M EZZO IU SO :m eant1'm N OT being disrespectful.Isincerely likeyou.

          4.     The United States and the D efendant agree that W hatsA pp, an internet

   application, is a facility and m eans of interstate comm erce.The United States and the

  D efendant agree that the D efendant knowingly attempted to persuade,induce, entice,or

   coerce the M inor V ictim to engage in sexual activity for w hich he could be charged w ith a

   crim inal offense.The U nited States and the D efendant agree that the D efendantkhow ingly

   attempted to transportthe M inor Victim,in foreign comm erce,with the intent thatthe M inor

   Victim engage in any sexualactivity forwhich the Defendantcould be charged with a crim inal

   offense.TheUnited Statesand theDefendantagreethattheM inorVictim had notattained theage

   of18yearsatthetim eoftheaforem entioned conduct,and thattheDefendantknew thattheM inor

   Victim had notattained the age of 18 years.

          5.     The U nited States and the D efendant agree thatthese facts,wlzich do notinclude

   al1ofthe factsknow n to the governm entand the Defendant,arç sufficientto prove the guiltofthe

   Defendantasto thecrim esofAttempted Coercion and Enticem entofaM inorto Engagein Sexual
                                                 4
                                            i
    Case 9:23-cr-80034-KAM Document 41 Entered on FLSD Docket 03/22/2024 Page 13 of 13




       Activity,inviolationof18U.S.C.j242241$,andAttemptedTransportationofaM inorwithIntent
I      toEngagein CriminalSexualActivity,inviolationof18U.S.C.j2423(a)and(e).
                                                sotaxzxzv LA#Om TE
                                                U N ITED STA TES A TTORN EY

       oate:   w   %laa 1J.
                          ?           By:
                                                ELEN A SM UKL
                                                A SSISANT > 1       ATES      RNEY
       Date: a fwz-/uv                By:
                                                MA       ITLES
                                                  U N SEL OR DE      D   T

       oate: 7/tt/u,Y                 By:
                                                JA        lSS
                                                     SEL FOR D EFEN DA N T

       Date: 942.=(tH                 By:
                                                AR ISTID E M EZZ l SO
                                                DEFEN D AN T
